          Case 1:19-cv-04861-ENV-SMG Document 5 Filed 11/19/19 Page 1 of 1 PageID #: 36


AO 399 (01/09) Waiver of the Service of Summons


                                      UNITED STATES DISTRICT COURT
                                                                     for the
                                                         Eastern District of New York
                                          individually and on behalf of
Jami Weber-Lugo, Jane Doe                 all others similarly situated      )
                              Plaintiff                                      )
                                 V.                                          )    Civil Action No.       1: 19-cv-04 861-ENV -SMG
Aldi Inc.                                                                    )
                             Defendant                                       )

                                              WANER OF THE SERVICE OF SUMMONS
        Spencer Sheehan
To:
             (Name of the plaintiff's attorney or unrepresented plaintiff)

       I have received your request to waive service of a summons in this action along with a copy of the complaint,
two copies of this waiver form, and a prepaid means ofreturning one signed copy of the form to you.

          I, or the entity I represent, agree to save the expense of serving a summons and complaint in this case.

         I understand that I, or the entity I represent, will keep all defenses or objections to the lawsuit, the court's
jurisdiction, and the venue of the action, but that I waive any objections to the absence of a summons or of service.

        I also understand that I, or the entity I represent, must file and serve an answer or a motion under Rule 12 within
60 days from              11/18/2019              , the date when this request was sent (or 90 days if it was sent outside the
United States). If I fail to do so, a default judgment will be entered against me or the entity I re


Date:         11/18/2019
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                           Aldi Inc.                                                 Dale J. Giali
        Printed name ofparty waiving service ofsummons                                                         Printed name
                                                                                     350 South Grand A venue, 25th Floor
                                                                                     Los Angeles, CA 90071-1503
                                                                                                                 Address

                                                                                                       erbrown.co m
                                                                                                              E-mail address

                                                                                       (213) 229-9509
                                                                                                            Telephone number


                                             Duty to Avoid Unnecessary Expenses of Serving a Summons
                                                                                                                                            a summons
          Rule 4 of the Federal.Rules of Civil Procedure requires certain defendants to cooperate in saving unnecessary expenses of serving
                                                                                                                              by a plaintiff located in
and complaint. A defendan t who is located in the United States and who fails to return a signed waiver of service requested
the United States will be rcq uit;ed to pay the expenses of service, unless the defendant shows good cause for the failure.
                                                                                                                                           the court has
          "Good cause" does not include a belief that the lawsuit is groundless, or that it has been brought in an improper venue, or that
no jurisdiction over this matter or over the defendant or the defendant's property.
                                                                                                                                       the absence of
        If the waiver is signed and returned, you can still make these and all other defenses and objections, but you cannot object to
a summons or of service.
                                                                                                                                         on the plaintiff
            If you waive service, then you must, within the time specified on the waiver form, serve an answer or a motion under Rule 12
            copy  with the court. By signing and returning  the waiver form, you  are allowed more  time to respond  than if a summons had been served.
 and file a
